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13                           IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEVADA
14

15   Cung Le, Nathan Quarry, Jon Fitch, Brandon         Case No.: 2:15-cv-01045-RFB-PAL
     Vera, Luis Javier Vazquez, and Kyle Kingsbury,
16   on behalf of themselves and all others similarly
     situated,                                          PLAINTIFFS’ MOTION FOR CLASS
17                                                      CERTIFICATION
18                         Plaintiﬀs,

19          v.
20   Zuﬀa, LLC, d/b/a Ultimate Fighting
21   Championship and UFC,

22                         Defendant.

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 1                                  NOTICE OF MOTION AND MOTION
 2          TO ALL PARTIES AND ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that Plaintiffs Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera, Luis

 4   Javier Vazquez, and Kyle Kingsbury (“Plaintiffs”) will and hereby do move the Court, pursuant to

 5   Federal Rule of Civil Procedure 23, for an order certifying this action as a class action and appointing

 6   Co-Lead and Liaison Class Counsel. Specifically, Plaintiffs move for an order certifying a Bout Class

 7   and an Identity Class, defined respectively as follows:

 8          Bout Class: All persons who competed in one or more live professional UFC-promoted
            MMA bouts taking place or broadcast in the United States from December 16, 2010 to June
 9          30, 2017. �e Bout Class excludes all persons who are not residents or citizens of the United
            States unless the UFC paid such persons for competing in a bout fought in the United States.
10

11          Identity Class: Each and every UFC Fighter whose Identity was expropriated or exploited by
            the UFC, including in UFC Licensed Merchandise and/or UFC Promotional Materials in the
12          United States from December 16, 2010 to June 30, 2017.

13          �is motion is based on this Notice of Motion and Motion, the accompanying Memorandum of
14   Points and Authorities, the attached Declaration of Eric L. Cramer, Esq. (“Cramer Declaration” or
15   “CD”), the attached Expert Report of Hal J. Singer, Ph.D. (CD, Ex. 1 or “SR1”), the attached Rebuttal
16   Expert Report of Hal J. Singer, Ph.D. (CD, Ex. 2 or “SR2”), the attached Expert Report of Andrew

17   Zimbalist (CD, Ex. 3 or “ZR1”), the attached Expert Rebuttal Report of Andrew Zimbalist (CD, Ex. 4 or

18   “ZR2”), the attached Expert Rebuttal Report of Professor Alan Manning (CD, Ex. 5 or “MR1”), the
19   attached Expert Report of Guy Davis, CPA, CIRA, CDBV, CFE (CD, Ex. 6 or “DR1”), the attached
20   Rebuttal Expert Report of Guy Davis, CPA, CIRA, CDBV, CRE (CD, Ex. 7 or “DR2”), all exhibits and
21   appendices thereto, all of the pleadings and papers on ﬁle in this action, and any argument that may be
22   presented to the Court.
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 1                         GLOSSARY OF EXPERT REPORT ABBREVIATIONS

 2
            For the convenience of the Court and eﬃciency, Plaintiﬀs’ Memorandum of Points and
 3
     Authorities uses the following abbreviations for citations to Plaintiﬀs’ expert reports:
 4
      Expert Report of Hal J. Singer, Ph.D. (August 31, 2017)                                   SR1
 5    Rebuttal Expert Report of Hal J. Singer, Ph.D. (January 12, 2018)                         SR2
 6    Expert Report of Andrew Zimbalist in Cung Le, et al. v. Zuﬀa, LLC (August 30, 2017)       ZR1
      Expert Rebuttal Report of Andrew Zimbalist (December 26, 2017)                            ZR2
 7    Expert Rebuttal Report of Professor Alan Manning (January 12, 2018)                       MR1
      Expert Report of Guy Davis, CPA, CIRA, CDBV, CFE (August 31, 2017)                        DR1
 8    Rebuttal Expert Report of Guy Davis, CPA, CIRA, CDBV, CRE (January 12, 2018)              DR2
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           �is case involves antitrust claims by mixed martial arts ﬁghters (“MMA Fighters”) against the

 4   dominant MMA event promoter, Zuﬀa, LLC (the “UFC” or “Zuﬀa”). Plaintiﬀs allege that Zuﬀa used

 5   an anticompetitive scheme (the “Scheme”) to establish and maintain its market dominance, allowing it

 6   to pay its Fighters substantially less than it would have in a more competitive market. Plaintiﬀs seek

 7   certiﬁcation of two classes of MMA Fighters—the Bout Class and the Identity Class—as the most

 8   eﬃcient and eﬀective way for this litigation to proceed.

 9           �e Scheme includes three categories of conduct: (1) Contracts: Zuﬀa used long-term exclusive

10   contracts with Fighters to limit their mobility and prevent or substantially delay free-agency; (2)

11   Coercion: Zuﬀa used its market dominance to coerce ﬁghters to re-sign contracts, making its contracts

12   eﬀectively perpetual; and (3) Acquisitions: Zuﬀa acquired and closed down multiple MMA promoters.

13   �e contracts and coercion deprived potential rival MMA promoters of an essential input—the marquee

14   Fighters they needed to compete with Zuﬀa. �e acquisitions eliminated any potential remaining

15   competition. Zuﬀa became the “major league” for MMA events and reduced other promoters to “minor

16   leagues.” Zuﬀa’s President Dana White admitted in 2010: “�ere is no competition. . . �ere is no other

17   guy. . . �ere was a time when it was neck-and-neck. �at time is over.” 1
18           As a result of the Scheme, Zuﬀa pays its Fighters a much lower share of its revenues (“Wage

19   Share”) than do other MMA promoters with less market power, far less than sports leagues where

20   athletes’ mobility is less restrained, and less than Zuﬀa paid them when it had less market power.

21   During the proposed “Class Period”—December 16, 2010 to June 30, 2017—Zuﬀa paid its Fighters

22   less than   % of the revenues from its MMA events (“Event Revenues”).

23                                                                                                           .

24                                                                                                . 2 Boxing and
25

26   1
       CD, Ex. 45 (Dana White stands by “pay for rankings” claim, says UFC is the NFL of MMA, MMA
27   JUNKIE (June 14, 2010), available at http://mmajunkie.com/2010/06/dana-white-stands-by-pay-for-
     rankings-claim-says-ufc-is-the-nﬂ-of-mixed-martial-arts) at 3.
28   2
       CD, Ex. 1 (SR1) ¶¶ 190, 247.
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 1   the four major U.S. team sports—the NBA, the NFL, the NHL, and MLB—all pay

 2                                .3
 3          An economic expert retained by the Plaintiﬀs, Dr. Hal Singer, performed a regression analysis,

 4   ﬁnding that, as the portion of the MMA Fighter Services market subject to Zuﬀa’s long-term

 5   exclusionary contracts increased over time (“Foreclosure Share”), Zuﬀa paid its Fighters a substantially

 6   lower share of Event Revenues.

 7

 8                                     .4
 9          Plaintiﬀs and proposed class representatives are Cung Le, Nathan Quarry, Jon Fitch, Brandon

10   Vera, Luis Javier Vazquez, and Kyle Kingsbury. Each fought in the UFC and was artiﬁcially

11   undercompensated for competing in MMA bouts (“Bouts”), for expropriation of their Identities, or

12   both, due to the Scheme. All Plaintiﬀs but Quarry seek to represent the “Bout Class,” consisting of all

13   Fighters who competed in one or more live professional UFC-promoted MMA Bouts broadcast in the

14   U.S. during the Class Period. 5 All Plaintiﬀs seek to represent the “Identity Class,” consisting of all
15   Fighters whose identities or likenesses Zuﬀa expropriated during the Class Period. 6
16          �e Court should certify the proposed classes because they satisfy the four requirements of Rule

17   23(a)—numerosity; commonality; typicality; and adequacy—and the two requirements of Rule

18   23(b)(3)—predominance of common issues; and superiority. Torres v. Mercer Canyons, Inc., 835 F.3d

19   1125, 1132 (9th Cir. 2016); Greene v. Jacob Transp. Servs., LLC, 2017 WL 4158605, at *2 (D. Nev.

20   Sept. 19, 2017); Kristensen v. Credit Payment Servs., 12 F. Supp. 3d 1292, 1303 (D. Nev. 2014); In re

21   High-Tech Employee Antitrust Litig., 985 F. Supp. 2d 1167, 1229 (N.D. Cal. 2013). Class certiﬁcation

22   is appropriate here because Rule 23(a) is satisﬁed: (1) the Classes are numerous, each including over

23   1,200 members; (2) there are multiple common issues, including whether Zuﬀa engaged in the Scheme

24   and whether it violated the antitrust laws; (3) the claims of the proposed Class representatives are

25   typical of the Classes they seek to represent in that each Class member seeks to recover for the same

26
     3
       See CD, Ex. 3 (ZR1) at Table 4.
27   4
       See SR1 ¶ 252 & Table 11; CD, Ex. 2 (SR2) ¶ 174.
28
     5
       See Notice of Motion, supra (complete deﬁnition of Bout Class).
     6
       Id. (complete deﬁnition of Identity Class).
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 1   type of harm (under-compensation) from the same conduct (the “Scheme”); and (4) the proposed Class

 2   representatives adequately represent the Classes, as do their counsel.

 3          Class certiﬁcation in antitrust cases usually turns on whether common issues predominate over

 4   individual issues under Rule 23(b)(3). Here common issues predominate for two fundamental reasons.

 5   First, common issues predominate in the case as a whole. See Amgen Inc. v. Conn. Retirement Plans

 6   and Trust Funds, 568 U.S. 455, 469 (2013); Torres, 835 F.3d at 1134; High-Tech, 985 F. Supp. 2d at

 7   1186-87 (citing Amgen, 568 U.S. at 469). �e litigation will focus overwhelmingly on issues that are

 8   the same for all Class members, including whether Zuﬀa engaged in the Scheme and whether the

 9   Scheme impaired competition, and thereby harmed Fighters and consumer welfare more generally.

10   �ese common issues will predominate over any individual issues, rendering class treatment superior to

11   individual litigation. Torres, 835 F.3d at 1134 (“[M]ore important questions apt to drive the resolution

12   of the litigation are given more weight in the predominance analysis over individualized questions

13   which are of considerably less signiﬁcance to the claims of the class”).

14          Second, Plaintiﬀs have shown in two ways—each of which is suﬃcient by itself—that they can

15   use common evidence to prove that the Scheme caused widespread harm across the Classes, i.e.,

16   common impact:

17          Econometric Class Member Impact Analysis. Dr. Hal Singer, an experienced and well-
18   respected economist retained by the Plaintiﬀs,

19

20                                                     SR1 ¶¶ 230-31 & Table 8; CD, Ex. 9 (Deposition of

21   Hal J. Singer, Ph.D. Exhibit 3 - UFC - Hal Singer Report - Errata II (“SE2”)) at 4; SR2 ¶¶ 150-52 &

22   Tables 2-3. See In re Air Cargo Ship. Services Antitrust Litig., 2014 WL 7882100, *55 (E.D.N.Y. Oct.

23   15, 2014), report and recommendation adopted, 2015 WL 5093503 (E.D.N.Y. July 10, 2015)

24   (certifying class in antitrust case based on the same econometric method); In re Chocolate

25   Confectionary Antitrust Litig., 289 F.R.D. 200, 221 (M.D. Pa. 2012) (same); In re Domestic Drywall

26   Antitrust Litig., 2017 WL 3623466, at *27 (E.D. Pa. Aug. 23, 2017) (same); In re Korean Ramen

27   Antitrust Litig., 2017 WL 235052, at *6 (N.D. Cal. Jan. 19, 2017) (same).

28          Regression Analyses Plus Pay Structure Evidence. Dr. Singer used another traditional

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 1   method for showing common impact. First, he speciﬁed a regression model showing that Fighter

 2   compensation was generally suppressed by the Scheme. Second, he showed that the UFC maintained a

 3   pay structure such that by suppressing Fighter compensation generally, the Scheme lowered

 4   compensation to all or nearly all UFC Fighters.

 5

 6

 7                                                                 SR1 at IV.B.1; SR2 at III.B. Indeed,

 8   Zuﬀa’s own economic expert, Dr. Topel, admitted that UFC Fighter compensation, at every level,

 9   moved together. CD, Ex. 23 (Deposition of Robert H. Topel (“Topel Dep. 1”)) at 168:25-172:13; 183:5-

10   185:5.

11            In addition, documents and deposition testimony—much of it from Zuﬀa itself—conﬁrm

12

13
                                                                                                           . SR1
14
     at IV.B. Joe Silva, the UFC’s long-time chief matchmaker, who had primary responsibility for
15
     negotiating compensation with hundreds of UFC ﬁghters over more than twenty years, admitted
16

17

18

19                                            .” 7 Multiple courts in analogous antitrust class actions on
20   behalf of workers have relied upon similar evidence of internal equity in ﬁnding common impact. See,
21
     e.g., High-Tech, 985 F. Supp. 2d at 1214 (plaintiﬀs’ “internal equity hypothesis” oﬀered a theory
22
     “subject to common proof for how Defendants’ antisolicitation agreements suppressed compensation
23
     broadly”); Seaman v. Duke Univ., 2018 WL 671239, at *4 (M.D.N.C. Feb. 1, 2018) (ﬁnding common
24

25   impact where defendants imposed “internal equity structures—policies and practices that are alleged to

26   have ensured relatively constant compensation relationships between employees—[which] spread the

27

28   7
         SR1 ¶ 226 (citing CD, Ex. 36 (ZUF-00296703) at 04) (emphasis added).

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 1   individual harm. . . to all faculty, thus suppressing compensation faculty-wide”). 8

 2          �us, here, largely uncontroverted common evidence is capable of showing impact that is
 3   widespread across Class members, making impact a common issue. Nitsch, 315 F.R.D. at 317
 4   (certifying class of workers in antitrust case based on a showing of suppressed compensation generally,
 5   plus similar evidence of a pay structure); High-Tech, 985 F. Supp. 2d at 1206 (same).
 6          Finally, the three Interim Co-Lead Counsel ﬁrms and Interim Liaison Counsel seek to be
 7   appointed Co-Lead Counsel and Liaison Counsel under Fed. R. Civ. P. 23(g). As a result, Plaintiﬀs
 8   respectfully submit that the Court should certify the proposed classes and remove the “Interim”
 9   designation from Co-Lead and Liaison Counsel.
10   II.    FACTUAL BACKGROUND
11          A.      �e MMA Industry
12          MMA is a combat sport for Fighters trained in multiple ﬁghting disciplines. Promoters stage
13   Bouts for commercial entertainment at MMA Events. SR1 ¶ 19. Zuﬀa is the
14            ” CD, Ex. 29 (ZFL-1391183) (2010 Moody’s Credit Opinion) at 1183. It requires all of its
15   Fighters to sign nearly identical long-term Promotional & Ancillary Rights Agreements (“Fighter
16   Contracts,” “Contracts,” or “PARs”).
17                                                . Zuﬀa treats its Fighters as independent contractors,
18   paying them only when they ﬁght. SR1 ¶ 21. 9 It does not pay for Fighter training, general health care,
19   nutrition, sparring, or management. 10
20

21

22

23   8
       See also Nitsch, 315 F.R.D. at 295 (ﬁnding common impact where “Plaintiﬀs’ documentary evidence
24   tends to show that Defendants maintained formal compensation structures and made signiﬁcant eﬀorts
     to maintain internal equity within those structures”).
25   9
       See also CD, Ex. 13 (30(b)(6) Deposition of Kirk D. Hendrick (“Hendrick 30(b)(6) Dep.”)) at 264:8-
     10.
26   10
        See, e.g., CD, Ex. 19 (Deposition of Joe Silva (“Silva Dep.”) at 186:18-187:21); CD, Ex. 21
27   (Deposition of Dana White Vol. 2 (“White Dep. 2”)) at 435:9-437:3; CD, Ex. 17 (Deposition of Sean
     Shelby (“Shelby Dep.”)) at 130:20-133:21; SR1 ¶ 21; CD, Ex. 13 (Hendrick 30(b)(6) Dep.) at 264:17-
28   24.

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 1                                                                                                        ” 15
 2   Deutsche Bank: “

 3                    ;” 16 and Moody’s Investor Service: Zuﬀa is the                                        that
 4                                    17


 5            Zuﬀa’s dominance is conﬁrmed by Zuﬀa’s President, Dana White, and now-former CEO,

 6   Lorenzo Fertitta: “�ere’s not really any competition. You could pick a No. 2, but No. 2 is so far away

 7   that’s [sic] it’s not really competition;” 18 “[t]here never has been a comparable outlet [to the UFC]…
 8   We’ve dominated this, this sport, alright? We’ve dominated the space;” 19 “[w]hen you look at the top
 9   10 in every division, we’ve got every ﬁghter under our umbrella. All the ﬁghters want to be with us

10   because they want to ﬁght the best competition. So from that standpoint . . . the competition isn’t really

11   relevant. . . .;” 20 “[c]ompetition? No. Not at all . . . [Other MMA promotions] they’re like the Triple
12   A.” 21
13            Similarly, Dr. Singer found, using a conservative analysis, that Zuﬀa’s share of the broadly

14   deﬁned Relevant Input Market                                                              . SR1 at III.A.4.

15   Zuﬀa also dominates the Relevant Output Market;

16

17                                                         SR1 at III.A.5.

18

19

20
     15
        CD, Ex. 28 (ZFL-1384297) at 311.
21   16
        CD, Ex. 38 (DB-ZUFFA-00006389) at 403.
     17
        CD, Ex. 37 (ZUF-00336384) at 84-85; CD, Ex. 29 (ZFL-1391183) at 83; CD, Ex. 32 (ZFL-
22   12543287) at 87-88.
     18
23      CD, Ex. 46 at 4 (UFC President Dana White Discusses Heavyweight Partnership with EA Sports,
     FORTUNE.COM (June 17, 2014), available at http://fortune.com/2014/06/17/dana-white-ufc-q-a/); see
24   also CD, Ex. 21 (White Dep. 2) at 289:17-290:3 (“As bad as people don’t want to believe it, they don’t
     want to hear it, meaning the other owners of other mixed martial arts organizations, that’s why they
25   are—that’s why . . . they all are the AAA to the UFC.”).
     19
        CD, Ex. 47 (Response to Pls. RFA No. 17) at 6 (admitting Lorenzo Fertitta made the statement in
26
     January 2012).
     20
27      CD, Ex. 47 (Response to Pls. RFA No. 32) at 10 (admitting that Lorenzo Fertitta made the statement
     in March 2014).
28   21
        CD, Ex. 48 (Deposition of Dana F. White, Vol.1) at 189:14-190:4.

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 1           (3) Control of Marquee Fighters. �e Scheme deprived other promoters of the ability to stage
 2   ﬁghts between top Fighters. Zuﬀa’s own economist, Dr. Topel, admitted Fighters want to compete

 3   against the best, 32 and by causing Zuﬀa to have the
 4            ” 33 the Scheme forced Fighters to accept Zuﬀa Contracts. SR2 ¶¶ 21, 29-30, 55, 66-67. 34
 5                          c.     Zuﬀa Acquired and Closed Down Potential Rivals.
 6           Between December 2006 and May 2007, Zuﬀa acquired its three most signiﬁcant rivals at the

 7   time: World Fighting Alliance (“WFA”), World Extreme Cageﬁghting (“WEC”), and PRIDE Fighting

 8   Championship (“PRIDE”). SR1 ¶¶ 41-43. Following the WFA acquisition, Zuﬀa stated, “

 9                                                                                                     ” 35
10   Similarly, Zuﬀa conceded

11

12                                                     .” CD, Ex. 33 (ZUF-00031544) at 44.

13           In 2011, Zuﬀa acquired Strikeforce, its last remaining rival of any potential signiﬁcance. Scott

14   Coker, then head of Strikeforce, testiﬁed that at a meeting between the two promoters in November

15   2010, Zuﬀa CEO Lorenzo Fertitta said, “I think Strikeforce is building a great brand, but we feel there

16   should only be one brand, so we’d like to buy your company.” 36 Following the acquisition, Zuﬀa
17   required Strikeforce Fighters to sign its exclusive Contracts. According to Coker, after the acquisition a

18   “lot of people were disappointed. . . [b]ecause you know, I had managers call me and say: Now our

19   [Fighter] purses are going to go down. Now there’s only one buyer and it’s not going to be good for

20   MMA as an industry.” Id. at 135:10-19. One year later, Fighter managers conﬁrmed to Coker that

21

22   32
        See CD, Ex. 11 (Expert Report of Robert H. Topel (“Topel Rpt.”)) ¶ 96 (“�ere is a natural tendency
23   for a leading promoter to attract a signiﬁcant share of the top athletes,” which “follows from the
     complementarity of athlete talents in producing high-quality bouts, and the desire among athletes to
24   compete against the best”).
     33
        CD, Ex. 35 (ZUF-00162329) (October 2009 Deutsche Bank CIM) at 47.
25   34
        Moreover, because of the Scheme, there were no promoters on par with Zuﬀa capable of making
     substantial oﬀers. CD, Ex. 24 (Deposition of Robert H. Topel (“Topel Dep. 2”)) at 370:16-371:13
26
     (admitting that none of the competitors that Zuﬀa purchased had been able to “challenge Zuﬀa’s
27   dominance in either the input or output markets”).
     35
        See CD, Ex. 26 (ZFL-1240584) at 90.
28   36
        CD, Ex. 20 (Deposition of Scott Coker (“Coker Dep.”)) at 118:16-119:5.

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 1   Fighter purse oﬀers were about 20% lower. Id. at 137:14-21.

 2           C.     �e Scheme Substantially Foreclosed Competition
 3           �e Scheme substantially foreclosed competition. Marquee Fighters (and those with potential to

 4   become marquee) are essential inputs for MMA promoters. SR1 ¶¶ 20, 152, 156-68. �ese Fighters are

 5   necessary to attract audiences, broadcasters, and sponsors. 37 Zuﬀa used its Contracts to prevent
 6   Fighters from competing for other MMA promoters, thereby impairing the ability of any surviving

 7   promoters to compete. SR1 ¶¶ 159-66; SR2 ¶¶ 21, 42, 50-55, 65-67, 69-71. A 2012 Deutsche Bank

 8   Report conﬁrms that “

 9                                        , 38 and thus that
10                      . Id. Zuﬀa’s own expert, Dr. Topel, acknowledged that

11                                                                                                           . 39

12   He further conceded that it deprived promoters of what they would need to challenge Zuﬀa’s

13   dominance:                                          Id. Further, Kurt Otto, President and Co-Founder of

14   the now-defunct MMA promoter known as the IFL, testiﬁed that Zuﬀa’s control of the vast majority of

15   top Fighters made it impossible for the IFL to compete. 40 Without access to the marquee Fighters Zuﬀa
16   locked up with its Contracts, other MMA promoters have given up on competing with the UFC for

17   talent, and have become “feeder” leagues to the UFC or “minor” leagues. SR1 ¶¶ 104-07, 127, 134-36.

18           By restricting Fighter mobility, Zuﬀa foreclosed a substantial amount of competition. Dr. Singer

19   empirically measured Zuﬀa’s increasing foreclosure, computing the share of the Relevant Input Market

20   that Zuﬀa had in its exclusive control, i.e., Fighters subject to Zuﬀa’s long-term Contracts. He found

21

22                      SR1 at III.C.2 & Figure 3.

23
     37
24      SR1 ¶ 156. See also CD, Ex. 20 (Coker Dep.) at 87:19-89:7.
     38
        CD, Ex. 38 (DB-ZUFFA-00006389) at 439.
25   39
        CD, Ex. 24 (Topel Dep. 2) at 435:17-437:22 (discussing Ex. 35 (ZUF-00162329) (Oct. 2009
     Deutsche Bank CIM) at 47); id. at 440:10-441:10 (discussing Ex. 35 (ZUF-00162329) (Oct. 2009
26
     Deutsche Bank CIM) at 71).
27
     40
        CD, Ex. 14 (Deposition of Kurt Otto) at 246:19-247-19 (“If I need to go get ﬁghters that are bigger
     names, they’re not in the woods somewhere up in a tree hiding, they’re in a ﬁght organization. And if
28   they’re locked up in a contract prematurely or a contract that was transferred and assumed because of
     the acquisition, I have no shot of getting that ﬁghter.”).
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 1   which, in turn, motivated the athletes to invest more in their own skills and careers. ZR1 ¶¶ 39, 49-50,

 2   52, 62, 71; ZR2 ¶¶ 90, 99-102; SR2 ¶¶ 197-98, 212, 217. Indeed, Zuﬀa’s own economist, Dr. Blair,

 3   admitted that the low salaries that prevailed in MLB’s Reserve Era forced top-level professional athletes

 4   to take non-baseball employment in the oﬀseason rather than focus on improving their sport-related

 5   skills, undermining the quality of the sport. CD, Ex. 25 (Blair Dep.) at 147:20-148:18. Drs. Singer and

 6   Zimbalist both concluded that, much like with other sports, increasing MMA Fighter compensation

 7   closer to competitive levels would cause Fighters to better promote themselves and to enhance their

 8   training, improving the quality of Fighters and, ultimately, Events. SR1 ¶¶ 287-90; SR2 ¶¶ 197-98, 212,

 9   217; ZR2 ¶¶ 90, 99-102. �e lesson is clear: competition oﬀ the ﬁeld enhances competition on the

10   ﬁeld—and in the UFC Octagon.

11          E.      �e Scheme Caused Widespread Impact Across Class Members
12          Plaintiﬀs oﬀer various forms of common evidence showing the Scheme had a widespread

13   impact on Class members, using a two-step analysis: the ﬁrst step involves common evidence that the

14   Scheme deﬂated compensation below competitive levels in general; and the second step involves

15   common evidence that the impact was widespread across Class members. See Nitsch, 315 F.R.D. at

16   297–98 (plaintiﬀs’ expert analyses proceeded in two steps, ﬁrst showing that “classwide evidence was

17   capable of showing that the alleged conspiracy suppressed compensation of class members generally,”

18   then that “economic studies and theory, documentary evidence, and statistical analyses were capable of

19   showing that this compensation suppression had widespread eﬀects on all class members”); Castro v.

20   Sanoﬁ Pasteur Inc., 134 F. Supp. 3d 820, 847 (D.N.J. 2015) (noting that the “two-step method to prove

21   antitrust impact is not novel”).

22                          �e Scheme Suppressed Compensation Generally.
23          Common evidence of compensation suppression includes: documentary and testimonial

24   evidence the Scheme decreased the share of Event Revenues that Zuﬀa’s Fighters received; expert

25   economic testimony showing that                                                       ; regression

26   analyses showing

27       ; and

28

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 1

 2                         �e Compensation Suppression Was Widespread Across the Class.
 3          Common evidence also shows the Scheme had a widespread eﬀect across the Class.

 4          Granular Common Impact Regression Model. Plaintiﬀs’ economic expert, Dr. Singer,

 5   performed classwide regression analyses showing

 6                                   . SR1 ¶¶ 230-31 & Table 8; CD, Ex. 9 (SE2) at 4; SR2 ¶¶ 150-52 &

 7   Tables 2-3. When Zuﬀa’s own economist re-ran Dr. Singer’s model,

 8                            SR2 ¶ 152 & Table 2.

 9          Pay Structure. Classwide evidence establishes that

10

11                                                                                �e evidence includes:

12   business documents from Zuﬀa and testimony from Zuﬀa’s executives showing that

13

14                                                       SR1 ¶¶ 212-26; regression analyses by Dr. Singer

15   showing that common factors explain the majority—78%—of diﬀerences in pay between Fighters, SR1

16   ¶ 227; SR2 ¶¶ 155, 163-64; an additional regression analysis by Dr. Singer showing that

17                                                                                     , SR1 ¶¶ 228-29 &

18   Table 7; SR2 ¶¶ 153, 158; and a regression analysis by Dr. Topel, Zuﬀa’s own economist,

19                                                                       . SR2 ¶¶ 159-60.

20          F.     Plaintiﬀs’ Experts Reliably Calculated the Aggregate Damages to the Classes
21          Plaintiﬀs have shown they can calculate the aggregate damages to Class members. Dr. Singer

22   conducted the primary analysis, using a regression model to show that

23                                                                                               . SR1 ¶¶

24   251-52 & Table 11.

25   SR1 ¶ 186. �e analysis demonstrates

26                                                                                           . SR 1 ¶ 252 &

27   Table 11; SR2 ¶¶ 171-72, 174. Dr. Singer’s analysis ﬁnds conﬁrmation

28

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 1                                           , SR1 ¶¶ 247-48 & Table 9; ZR2 ¶¶ 73-76, and (b)

 2                                                                . ZR1 ¶¶ 104-26 & Tables 2-6; ZR2 ¶¶ 53-

 3   72, 83-91.

 4          Plaintiﬀs’ experts have also shown that paying the Class members the additional compensation

 5   implied by their damages models would have been feasible. One reason is that the additional revenues

 6   need not come solely from Zuﬀa. In the “but for” world, which would have been more competitive,

 7   multiple MMA promoters would have bid for UFC Fighters and paid them a competitive wage.

 8   Moreover, Plaintiﬀs’ experts found that the MMA industry would have continued to grow but for

 9   Zuﬀa’s anticompetitive Scheme, so that MMA promoters would have had substantially more revenue

10   available to pay the Fighters. SR1 ¶¶ 193-96, 203-207, 288-90 & Figures 4A, 4B; SR2 ¶¶ 197-98, 201-

11   07. In addition,

12

13

14

15                      . See CD, Ex. 7 (DR2) at C-D & Table 1; CD, Ex. 6 (DR1) at C, D, E.2, E.3, E.5, F

16   & Tables 3, 7-13, 17; SR2 ¶¶ 208-09; ZR1 ¶¶ 135-38.

17          PLAINTIFFS SATISFY THE REQUIREMENTS OF RULE 23(a)
18          A.      Numerosity: �e Proposed Classes Are Numerous
19          Rule 23(a), which “requires that a class be so numerous that joinder of all members is

20   impracticable,” Lee v. Enterprise Leasing Co.-West, LLC, 300 F.R.D. 466, 469 (D. Nev. 2014), is

21   satisfied when a proposed class includes more than forty members. Ries v. Arizona Beverages USA

22   LLC, 287 F.R.D. 523, 536 (N.D. Cal. 2012). Here, the proposed Bout and Identity Classes each contain

23   over 1,200 members. SR1 ¶3, n.10. Numerosity is satisfied.

24          B.      Commonality: A Question of Law or Fact Is Common to Class Members
25          Commonality requires only a single significant issue of law or fact common to a class. Wolin v.

26   Jaguar Land Rover N. Am., LLC, 617 F.3d 1168, 1172 (9th Cir. 2010). Common issues here include:

27   (1) whether Zuffa violated the antitrust laws; (2) whether Zuffa possessed market power; (3) whether

28

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 1   Zuffa’s Scheme had anti-competitive effects; (4) what injunctive relief, if any, is appropriate; and (5)

 2   the aggregate amount of damages caused by Zuffa’s unlawful Scheme. Commonality is satisfied.

 3          C.      Typicality: �e Proposed Representatives’ Claims Are Typical
 4          The claims of the Class representatives are typical of the claims of the Classes because the

 5   claims generally arise from the same events and the same legal arguments. Thomas & Thomas

 6   Rodmakers, Inc. v. Newport Adhesives & Composites, Inc., 209 F.R.D. 159, 164 (C.D. Cal. 2002);

 7   Kristensen, 12 F. Supp. 3d at 1304–05. The nature of the claims must be the same, but the specific facts

 8   giving rise to the claims need not be. Ellis v. Costco Wholesale Corp., 657 F.3d 970, 984 (9th Cir.

 9   2011). Typicality is generally satisfied in cases involving antitrust violations. Pecover v. Elec. Arts,

10   Inc., 2010 WL 8742757, at *11 (N.D. Cal. Dec. 21, 2010). Here, Plaintiffs’ claims are typical because

11   “they stem from the same event, practice, or course of conduct that forms the basis of the claims of the

12   class and are based on the same legal or remedial theory.” In re Citric Acid Antitrust Litig., 1996 WL

13   655791, at *3 (N.D. Cal. Oct. 2, 1996); Sobel v. Hertz Corp., 291 F.R.D. 525, 541 (D. Nev. 2013)

14   (typicality satisfied where “the class members’ claims arise from a standard practice and implicate

15   common legal questions”), affirmed in part, 674 F. App’x 663, 666 (9th Cir. 2017) (affirming class

16   certification); see also Greene, 2017 WL 4158605, at *4.

17          Plaintiffs’ claims, like those of the Class members, stem from Zuffa’s monopsonization of the

18   market for professional MMA Fighter Services. Like all members of the Bout and Identity Classes,

19   each of the proposed Class representatives alleges that due to the Scheme, Zuffa undercompensated

20   him or her for at least one Bout during the Class Period, for the use of his likeness during the Class

21   Period, or both. The proposed Class representatives’ claims are typical of the Classes they seek to

22   represent.

23          D.      Adequacy: Plaintiﬀs Will Fairly and Adequately Represent the Classes
24          Plaintiffs satisfy the “adequacy” test because they: (1) do not have interests in conflict with

25   those of the Classes regarding the litigation; and (2) are represented by qualified counsel competent to

26   pursue the interests of the Classes. See Greene, 2017 WL 4158605, at *5 (citing Evon v. Law Offices of

27   Sidney Mickell, 688 F.3d 1015, 1031 (9th Cir. 2012)); In re Static Random Access Memory (SRAM)

28   Antitrust Litig., 2008 U.S. Dist. LEXIS 107523, at *40 (N.D. Cal. Sept. 29, 2008). “This circuit does

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 1   not favor denial of class certification on the basis of speculative conflicts.” Cummings v. Connell, 316

 2   F.3d 886, 896 (9th Cir. 2003). Here, the interests of the named Plaintiffs are fully aligned with those of

 3   absent Class members in proving that Zuffa violated the antitrust laws and thereby artificially

 4   undercompensated its Fighters. See High-Tech, 985 F. Supp. 2d at 1181 (finding adequacy where

 5   “named Plaintiffs and [absent] Class members share an interest in proving that Defendants’ conduct

 6   violated the antitrust laws and suppressed their compensation”). In addition, Interim Class Counsel

 7   have capably pursued the interests of the proposed Classes and will continue to do so. See CD ¶¶ 3-8

 8   (describing the work Interim Class Counsel have undertaken to date on behalf of the proposed classes).

 9   IV.     PLAINTIFFS SATISFY THE REQUIREMENTS OF RULE 23(b)(3)
10           Plaintiﬀs also satisfy Rule 23(b)(3), which requires that: (1) common questions predominate

11   over individual ones; and (2) a class action is superior to other methods of adjudication.

12           Plaintiﬀs establish predominance in two independently suﬃcient ways: common issues

13   predominate in the case as a whole; and common issues predominate as to each component of

14   Plaintiﬀs’ claims. �e Supreme Court and the Ninth Circuit have held that Rule 23(b)(3) is satisﬁed if

15   common issues predominate in the case as a whole; each element of Plaintiﬀs’ claims need not be

16   predominantly common. See Amgen, 568 U.S. at 469; Torres, 835 F.3d at 1134; High-Tech, 985 F.

17   Supp. 2d at 1186-87 (citing Amgen, 568 U.S. at 469). Here, as in many antitrust cases, the litigation

18   will focus overwhelmingly on common issues, particularly on Zuﬀa’s conduct. Amchem Prod., Inc. v.

19   Windsor, 521 U.S. 591, 625 (1997) (“Predominance is a test readily met in certain cases alleging. . .

20   violations of the antitrust laws.”).

21           Plaintiﬀs also establish predominance by showing that they will attempt to prove each

22   component of their case—violation; causation and impact; and damages—using common evidence.

23   Proof of an antitrust violation often focuses on a defendant’s conduct and is therefore entirely common.

24   Amchem, 521 U.S. at 625; Sullivan v. DB Investments, Inc., 667 F.3d 273, 336 (3d Cir. 2011) (en banc).

25   And proof of damages in the aggregate to Class members as a whole—as Drs. Singer and Zimbalist

26   both provide—is common. As a result, courts have held common issues predominate in antitrust cases

27   if plaintiﬀs can establish common impact, that is, that they will rely on common evidence in attempting

28   to show widespread harm to a class. Torres, 835 F.3d at 1138; High-Tech, 985 F. Supp. 2d at 1192.

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 1           Using a roadmap from past antitrust cases, Plaintiﬀs here show common impact through a two-

 2   step analysis. See Nitsch, 315 F.R.D. at 297–98 (granting class certiﬁcation where plaintiﬀs’ expert

 3   analyses proceeded in two steps, ﬁrst showing that “classwide evidence was capable of showing that

 4   the alleged conspiracy suppressed compensation of class members generally,” then that “economic

 5   studies and theory, documentary evidence, and statistical analyses were capable of showing that this

 6   compensation suppression had widespread eﬀects on all class members”); Castro, 134 F. Supp. 3d at

 7   847 (noting that the “two-step method to prove antitrust impact is not novel”).

 8           As to the ﬁrst step, Plaintiﬀs show that defendant’s Scheme had a general tendency to harm the

 9   Class members—here, by decreasing wages below competitive levels. As explained below, Plaintiﬀs’

10   evidence includes documents, testimony, and various forms of economic analysis.

11           As to the second step, Plaintiﬀs show the resulting impact was widespread across Class

12   members—here, that the Scheme suppressed compensation broadly across the Classes. In this regard,

13   Plaintiﬀs rely on two methods, each of which courts have found suﬃcient by itself: (1) a classwide

14   model assessing compensation for each Class member and showing impact to                             ; 46 and
15   (2) an analysis showing Zuﬀa

16                                                                            . 47
17

18   46
        See Air Cargo, 2014 WL 7882100, at *55 (observing that defendants did not even dispute that an
     analogous “‘customer model’ is methodologically capable of showing the percentage of class members
19
     impacted, nor do they dispute that 96% would be suﬃciently ‘classwide’ for purposes of common
20   proof”); Chocolate, 289 F.R.D. at 221 (certifying class based on analogous customer impact model);
     Drywall, 2017 WL 3623466, at *27 (certifying class where similar econometric model showed 98% of
21   class members impacted); Korean Ramen, 2017 WL 235052, at *6 (certifying direct purchaser class
     based in part on a similar multiple regression model conﬁrming impact on 98% of class members).
22   47
        See, e.g., Nitsch, 315 F.R.D. at 297–98 (plaintiﬀs’ expert analyses proceeded in two steps, ﬁrst
23   showing that “classwide evidence was capable of showing that the alleged conspiracy suppressed
     compensation of class members generally,” then that “economic studies and theory, documentary
24   evidence, and statistical analyses were capable of showing that this compensation suppression had
     widespread eﬀects on all class members”); High-Tech, 985 F. Supp. 2d at 1206 (noting that Plaintiﬀs’
25   expert “followed a roadmap widely accepted in antitrust class actions that use evidence of general price
     eﬀects plus evidence of a price structure to conclude that common evidence is capable of showing
26
     widespread harm to the class”); In re Polyester Staple Antitrust Litig., 2007 WL 2111380, at *26
27   (W.D.N.C. July 19, 2007) (crediting use of pricing structure analysis to prove classwide impact); In re
     Aftermarket Lighting Prods. Antitrust Litig., 276 F.R.D. 364, 369–70 & n.3 (C.D. Cal. 2011) (certifying
28   class based on pricing structure analysis showing classwide eﬀect).

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 1           COMMON ISSUES PREDOMINATE IN THE CASE AS A WHOLE
 2           Common questions of fact and law predominate in the case as a whole. As explained in Amgen,

 3   Plaintiﬀs need not show they will prevail on the predominantly common issues; rather they must show

 4   only that they can oﬀer evidence common to the class. Amgen, 568 U.S. at 459. Predominance requires

 5   that “questions common to the class predominate, not that those questions will be answered, on the

 6   merits, in favor of the class.” Id. (emphasis original). Further, the predominance inquiry is conducted

 7   by reference to the litigation as a whole. Torres, 835 F.3d at 1134 (predominance inquiry asks court to

 8   make a “global determination of whether common questions prevail over individualized ones”). Not

 9   every element needs to be predominantly common. See, e.g., Amgen, 568 U.S. at 459 (Rule 23(b)(3)

10   “does not require a plaintiﬀ seeking class certiﬁcation to prove that each element of her claim is

11   susceptible to class wide proof. What the rule does require is that common questions predominate over

12   any questions aﬀecting only individual class members.”). 48 Accordingly, courts have certiﬁed classes
13   even where some elements of the claim may give rise to individualized issues, such as proof of impact

14   or injury. See, e.g., Torres, 835 F.3d at 1137 (certifying class because common issues predominated in

15   the case as a whole, even though fact of injury was an element of plaintiﬀs’ claims and they had not

16   shown it was common to the class); see also Leyva v. Medline Indus., Inc., 716 F.3d 510, 513–14 (9th

17   Cir. 2013) (holding common issues predominated in case as a whole despite individualized damages

18   issues); Greene, 2017 WL 4158605, at *5 (when “common questions present a signiﬁcant aspect of the

19   case and they can be resolved for all members of the class in a single adjudication[,]” damages decided

20   on an individual basis will not preclude class certiﬁcation); Magadia v. Wal-Mart Assoc., No. 17-CV-

21   00062-LHK, slip op. at 11 (N.D. Cal. 2018) (Plaintiﬀs “need only show that common questions will

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     48
        See also Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2412 (2014) (“[w]hile [the
26
     Defendants’ defense] has the eﬀect of leaving individualized questions of reliance in the case, there is
27   no reason to think that these questions will overwhelm common ones and render class certiﬁcation
     inappropriate under Rule 23(b)(3)”); High-Tech, 985 F. Supp. 2d at 1184 (“[P]laintiﬀs [a]re not required
28   to demonstrate that common questions w[ill] predominate with respect to each element.”).

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 1   predominate with respect to their class as a whole.”). 49
 2           As in most antitrust matters, this case will focus on the defendant’s conduct, its illegality, and its

 3   eﬀect on competition. See Amchem, 521 U.S. at 625. 50 As it has to date, the litigation and trial in this
 4   case will focus overwhelmingly on common issues, including: whether Zuﬀa engaged in the Scheme;

 5   whether it foreclosed competition and was anticompetitive; whether it generally suppressed Fighter

 6   compensation; what injunctive relief, if any, is appropriate; and aggregate damages. Neither Plaintiﬀs

 7   nor Zuﬀa will focus their case on which particular Class members, if any, were uninjured. See Torres,

 8   835 F.3d at 1140-41 (noting a “class defendant’s interest was ‘only in the total amount of damages for

 9   which it will be liable,’ not ‘the identities of those receiving damage awards’”).

10   VI.     COMMON ISSUES PREDOMINATE FOR EACH COMPONENT OF THE CLAIM
11           A.     Classwide Evidence Is Capable of Proving an Antitrust Violation
12           As discussed above, here the major factual and legal issues necessary to establish an antitrust

13   violation are common to Class members and have dominated the litigation and will continue to do so.

14           B.     Classwide Evidence Is Capable of Proving Common Impact
15           Courts have found in numerous antitrust cases that common issues predominate when, as here,

16   plaintiﬀs oﬀer evidence capable of showing “common impact,” that is, when they oﬀer evidence of fact

17   of injury on a classwide basis. See, e.g., Thomas, 209 F.R.D. at 166; In re Rubber Chems. Antitrust

18   Litig., 232 F.R.D. 346, 352-53 (N.D. Cal. 2005). Evidence establishes “common impact” if it is

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     49
        See also In re Lidoderm Antitrust Litig., 2017 U.S. Dist. LEXIS 24097, at *38 (N.D. Cal. Feb. 21,
21   2017) (certifying class treatment of direct and indirect purchaser antitrust claims even though
     “determining whether any particular plaintiﬀ was injured and how to apportion damages between the
22   plaintiﬀs necessarily involves individualized questions that are undeniably complex”); Cordes & Co.
23   Fin. Servs. v. A.G. Edwards & Sons, Inc., 502 F.3d 91, 108 (2d Cir. 2007) (reversing denial of class
     certiﬁcation and cautioning, “Even if the district court concludes that the issue of injury-in-fact presents
24   individual questions, however, it does not necessarily follow that they predominate over common ones
     and that class action treatment is therefore unwarranted”).
25   50
        See also High-Tech, 985 F. Supp. 2d at 1227 (the “question [of defendants’ antitrust violation] is
     likely to be central to this litigation”); In re Static Random Access Memory (SRAM) Antitrust Litig., 264
26
     F.R.D. 603, 611 (N.D. Cal. 2009) (“Plaintiﬀs need not show that there will be common proof on each
27   element of the claim” especially where proof of the violation is “the predominant issue”) (quotation
     omitted).
28

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 1   common to class members and is capable of showing that a defendant’s conduct caused injury (or fact

 2   of damage) that is widespread across class members. Torres, 835 F.3d at 1136, 1138 (impact is common

 3   unless the class is “deﬁned so broadly as to include a great number of members who for some reason

 4   could not have been harmed by the defendant’s allegedly unlawful conduct”) (quotation omitted);

 5   High-Tech, 985 F. Supp. 2d at 1192 (“widespread” harm to class suﬃces). In other words, impact is a

 6   common issue so long as a proposed class does not contain “large numbers of class members who were

 7   never exposed to the challenged conduct to begin with.” Torres, 835 F.3d at 1136 (emphasis in original)

 8   (citing, inter alia, Mazza v. Am Honda Motor Co., 666 F.3d 581, 596 (9th Cir. 2012)). 51
 9           To establish common impact consistent with Amgen, Plaintiﬀs need merely oﬀer common proof

10   capable of showing harm—here, some degree of compensation deﬂation due to the Scheme—is

11   widespread across the class; they need not prove classwide harm. High-Tech, 985 F. Supp. 2d at 1192;

12   In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 583, 600 (N.D. Cal. 2010) (“LCDs”)

13   (“Plaintiﬀs need only advance a plausible methodology to demonstrate that antitrust injury can be

14   proven on a class-wide basis.” (emphasis added) (citations omitted)). 52 As the Supreme Court recently
15   explained, plaintiﬀs need merely oﬀer evidence common to the class that: (1) if believed, could support

16   their claims; and (2) is admissible. Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1049 (2016)

17   (“�e District Court could have denied class certiﬁcation on th[e] ground [that it agreed with

18   Defendants’ experts] only if it concluded that no reasonable juror could have believed that” plaintiﬀs’

19   experts were right on the merits (emphasis added)).

20           Further, impact (i.e., some degree of compensation suppression) on a single occasion—of any

21   amount—is suﬃcient to establish fact of damage to a class member, even if that amount was later

22   oﬀset. Lidoderm, 2017 U.S. Dist. LEXIS 24097, at *93-94; Nexium, 777 F.3d at 27 (“Paying an

23   overcharge caused by the alleged anticompetitive conduct on a single purchase suﬃces to show—as a

24

25   51
        See Kohen v. Pac. Inv. Mgmt. Co. LLC & PIMCO Funds, 571 F.3d 672, 677 (7th Cir. 2009) (class
     may contain uninjured members); In re Nexium Antitrust Litig., 777 F.3d 9, 22 (1st Cir. 2015) (same);
26
     Messner v. Northshore Univ. Health Syst., 669 F.3d 802, 818–19 (7th Cir. 2012) (same).
     52
27      See also In re Cathode Ray Tube (CRT) Antitrust Litig., 308 F.R.D. 606, 629 (N.D. Cal. 2015)
     (holding plaintiﬀs’ expert’s method need only be “plausible”); In re Optical Disk Drive Antitrust Litig.,
28   2016 WL 467444, at *7 (N.D. Cal. Feb. 8, 2016) (plaintiﬀs’ method need only be “adequate”); Rubber
     Chems., 232 F.R.D. at 353 (plaintiﬀs’ method need only be “realistic”).
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 1   legal and factual matter—impact or fact of damage.”).

 2           To show that Plaintiﬀs have evidence capable of establishing a “widespread” eﬀect, High-Tech,

 3   985 F. Supp. 2d at 1192—i.e., to establish “common impact”—Plaintiﬀs use a standard two-step impact

 4   analysis. Id.; see also, supra at 19, nn.46-47 & II.E (citing cases endorsing two-step common impact

 5   analysis). First, Plaintiﬀs oﬀer common evidence capable of showing the Scheme tended to lower

 6   compensation generally. High-Tech, 985 F. Supp. 2d at 1206. Second, they present evidence capable of

 7   showing these eﬀects were widespread across Class members. Id.

 8                         Common Impact for the Bout Class in Two Steps
 9           STEP 1: COMMON EVIDENCE OF GENERALLY DECREASED COMPENSATION: Plaintiﬀs oﬀer two
10   types of evidence capable of showing the Scheme deﬂated compensation:

11           (1) Documentary and Testimonial Evidence of Suppressed Compensation: As detailed in
12   II.D. above, and by Dr. Singer in his reports, SR1 ¶¶ 188-92; SR2 ¶¶ 36-41,

13

14

15                 . As Zuﬀa’s current owner observed,

16

17              See CD, Ex. 41 (WME_ZUFFA_00001150) at 11.

18           (2) Economic and Econometric Evidence of Suppressed Compensation
19           Plaintiﬀs’ and Zuﬀa’s economists agree that when a ﬁrm has monopsony power, it pays workers

20   less than it would in a competitive market. SR1 ¶¶ 93, 143-44; SR2 ¶¶ 38-39, 72, 92-93 (citing

21   admissions by Zuﬀa’s economists). Indeed, that is the deﬁnition of monopsony power—a ﬁrm with the

22   power to pay below competitive compensation. SR1 ¶¶ 143-44; SR2 ¶¶ 36, 38-39, 72, 92-93. A

23   monopsonist has suﬃcient control of the market that workers cannot go elsewhere, depriving them of

24   the ability to pit potential employers against one other to drive up compensation. See CD, Ex. 22

25   (Deposition of Paul Oyer (“Oyer Dep.”)) at 25:10-28:18. Zuﬀa’s experts have conceded this point. 53
26
     53
27     See CD, Ex. 44 (ROGER BLAIR, SPORTS ECONOMICS (Cambridge University Press 2012) at 354. Dr.
     Topel similarly admitted that “if there’s monopsony power in the market, the athlete will get paid
28   below his marginal revenue product.” Ex. 23 (Topel Dep. 1) 46:4-10 (“Q. So if the market’s

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 1                                                                                                    SR1 ¶ 189.

 2

 3

 4               SR1 ¶¶ 190, 247.

 5

 6                                                                 . Id. 56
 7                     Comparison to Other Sports. Dr. Zimbalist is one of the foremost sports economists.
 8   ZR1 ¶ 9. His analysis showed that major sports—the NBA, the NFL, the NHL, MLB, and boxing—all

 9   engaged in exclusionary conduct restraining the mobility of athletes in a manner similar to Zuﬀa’s

10   Scheme here, and all were forced to make signiﬁcant concessions to competition over time. ZR1 ¶¶ 25-

11   103. Once they did so, the proportion of their revenue they paid to athletes increased consistently and

12   signiﬁcantly. ZR1 ¶¶ 29, 36, 39, 49-50, 52, 60-62, 71, 80; ZR2 ¶¶ 9, 45, n.89 (player share of MLB

13   revenues increased after the reserve clause was discontinued). As Dr. Zimbalist shows, once the labor

14   markets became more competitive, athletes consistently received 50% or more of total revenues. ZR1

15   ¶¶ 109-26 & Tables 2-4. Using analogous professional sports as benchmarks, Dr. Zimbalist concluded

16   that eliminating the Scheme would cause UFC Fighter compensation to

17                       ZR1 ¶¶ 123-26 & Table 4. His analysis further shows that in contrast to Zuﬀa’s claims

18   here—which echo the hollow complaints of other professional sports owners in the past—improvement

19   in competitive conditions for athletes’ services would not only cause athletes to receive a greater share

20   of revenue, but would also make MMA more popular, attract more talented athletes to MMA, cause

21   athletes to work harder to compete eﬀectively, and increase industry revenues substantially. ZR1 ¶¶ 80,

22   83-84, 139; ZR2 ¶¶ 9, 90, 97, 99.

23             STEP 2: COMMON EVIDENCE OF A WIDESPREAD EFFECT: Plaintiﬀs also have two forms of
24   common evidence capable of showing deﬂation of compensation was widespread: (1) econometric

25   evidence showing

26               and (2) documentary, testimonial, and econometric evidence of

27

28   56
          See also SR2 ¶¶ 77, 181, 199 (referencing Dr. Topel’s admission that Bellator and Strikeforce are
     “                     ”).
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 1

 2                  Econometric Evidence of Common Impact. Dr. Singer performed a standard
 3   econometric analysis that courts have found suﬃcient for common impact. See, supra at 19, n.46

 4   (citing cases). He used multivariate regression analyses to assess the compensation each Fighter would

 5   have received for each event if not for the Scheme, comparing those amounts to the compensation each

 6   ﬁghter actually received. SR1 ¶¶ 230-231 & Table 8; CD, Ex. 9 (SE2) at 4. He concluded that

 7

 8   SR2 ¶ 152 & Table 2.

 9                  Evidence of Zuﬀa’s Pay Structure. Plaintiﬀs show widespread impact in a second,
10   independently suﬃcient way: with evidence that

11

12                          Documentary Evidence. First, documents and deposition testimony—much of it
13   from Zuﬀa itself—

14                                                                                                        SR1

15   ¶¶ 209, 212-26. Multiple courts in directly analogous antitrust class actions on behalf of workers have

16   relied upon similar evidence of internal equity in ﬁnding common impact. See, e.g., High-Tech, 985 F.

17   Supp. 2d at 1214 (plaintiﬀs’ “internal equity hypothesis” oﬀered a theory “subject to common proof for

18   how Defendants’ antisolicitation agreements suppressed compensation broadly”). 57

19           Joe Silva, the UFC’s long-time chief matchmaker, who had primary responsibility for

20   negotiating compensation with hundreds of UFC ﬁghters over more than twenty years,

21

22

23

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     57
        See also Seaman, 2018 WL 671239, at *4 (ﬁnding common impact where defendants imposed
25   “internal equity structures—policies and practices that are alleged to have ensured relatively constant
     compensation relationships between employees—[which] spread the individual harm . . . to all faculty,
26
     thus suppressing compensation faculty-wide”); Nitsch, 315 F.R.D. at 295 (ﬁnding common impact
27   where “Plaintiﬀs’ documentary evidence tends to show that Defendants maintained formal
     compensation structures and made signiﬁcant eﬀorts to maintain internal equity within those
28   structures”).

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 1

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 3                                                                                      . SR1 ¶¶ 216-17.

 4

 5

 6

 7                               SR1 ¶ 217.

 8                                                           . See SR1 ¶¶ 217-22

 9

10                ). As explained by UFC matchmaker Sean Shelby, who negotiated mid- to low-end

11   contracts,

12                                                                                            59


13           Moreover,

14                                               . SR1 ¶ 212. As Scott Coker, former CEO of Strikeforce and

15   current President of Bellator, explained at deposition, Zuﬀa’s market power allows it to “dictate what

16   an entry [level] ﬁghter would get and what a mid-tier ﬁghter would get, what a top-tier ﬁghter would

17   get.” SR1 ¶ 212 (quoting CD, Ex. 20 (Coker Dep.) at 97:18-99:3) (emphasis in SR1).

18

19                                                                                     SR1 ¶¶ 213-26. None

20   of Zuﬀa’s economists responded to or contested any of this evidence. 60
21

22

23                                            SR1 ¶ 223; see also SR1 ¶¶ 222-223 (

24                                                                                                    ). Joe

25

26   58
        SR1 ¶ 226 (citing CD, Ex. 36 (ZUF-00296703)).
     59
27      SR1 ¶ 218 (citing CD, Ex. 34 (ZUF-00122280) (emphasis in SR1)); see also SR1 ¶ 219 (citing
     UFC’s Shelby noting “                                         ”).
28   60
        See CD, Ex. 23 (Topel Dep. 1) at 176:9-12 (acknowledging he does not address internal equity in his
     report).
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 1   Silva conﬁrmed Zuﬀa’s philosophy was “

 2                                                ,” and that he worked “

 3                             ” SR1 ¶ 225 (quoting CD, Ex. 19 (Silva Dep.) at 372:22-373:18).

 4

 5                                                                                               . Id.

 6                         Economic and Econometric Evidence. Dr. Singer used two lines of
 7   econometric analysis to conﬁrm that Zuﬀa maintained a pay structure. First, he performed a regression

 8   analysis to determine the percentage of ﬁghter compensation that is explained by common factors. SR1

 9   ¶ 227. He concluded that 78% of the variation in ﬁghter compensation is explained by common,

10   objectively measurable variables. Id. �ose variables include weight class, rank, gender, placement on

11   the card, year, country, and venue. Id. So the great majority of Fighter compensation is formulaic and

12   any downward shift in compensation would aﬀect the Bout Class as a whole. Id. 61 Second, Dr. Singer
13   performed additional regression analyses to assess the degree to which gains and losses in

14   compensation for individual Fighters were statistically associated with gains and losses to Fighters

15   overall (“Sharing Analysis”). SR1 ¶ 228.                                                   . SR1 ¶ 229 &

16   Table 7.

17                                                                             . Id. Courts have relied upon

18   similar sharing regressions in ﬁnding common impact in antitrust cases. 62
19                         Admissions of Zuﬀa’s Economists.
20

21

22                                              SR2 ¶¶ 159, 165. He further conceded that compensation to

23
     61
24      High-Tech., 985 F. Supp. 2d at 1209–10 (accepting as common proof of impact a regression analysis
     showing that a high share “of the variation in any individual employee’s compensation can be
25   explained by common factors”); Nitsch, 315 F.R.D. at 300 (ﬁnding fact that “common factors explain
     the majority of the variation in compensation” supported ﬁnding a price structure and common impact).
26   62
        See, e.g., Seaman, 2018 WL 671239, at *6 (Plaintiﬀs’ “‘sharing’ regression analyses” were class-
27   wide proof “that there is a correlation between faculty compensation and provides further support for
     Dr. Seaman’s theory that the defendants managed faculty compensation with internal equity
28   structures”).

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 1   diﬀerent Fighters moves together because it is determined by common factors. 63

 2

 3                                                                                                 . SR2 ¶ 165.

 4   �ese concessions, combined with all of the other evidence, establish common impact.

 5                           Common Impact for the Identity Class in Two Steps
 6           Plaintiﬀs also have established common impact for the Identity Class. Dr. Singer analyzed two

 7   subgroups of Fighters in the Identity Class. �e ﬁrst subgroup (“Identity Subgroup One”) includes only

 8   those Fighters who received some identity-based payments during the Class Period, such as for

 9   sponsorship, video games, merchandise royalties, or pursuant to an athlete outﬁtting policy. SR1 ¶¶

10   233, 236-37. �e second subgroup (“Identity Subgroup Two”) includes all ﬁghters who entered a

11   Promotional and Ancillary Rights Agreement (“PAR”) with Zuﬀa

12                   during the Class Period, regardless of whether the ﬁghter received any compensation

13   speciﬁcally for use of his or her identity. Id.

14

15

16                           SR1 ¶¶ 236-237, 241-244; SR2 ¶ 168.

17

18

19

20                                                                                          . SR1 ¶ 239.

21                                            Id.

22                                                                               . SR1 ¶ 240; see also SR2 ¶¶

23   169-70.

24           C.      Classwide Evidence Is Capable of Proving Aggregate Damages
25           Courts routinely hold that the amount of damages a defendant must pay is a common issue if, as

26

27
     63
       CD, Ex. 23 (Topel Dep. 1) at 169:19-23 (conceding that the reason for the increase in Zuﬀa Fighter
28   compensation in all ranking categories was “an increase in interest and demand for the services of
     MMA ﬁghters generally”).
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 1   here, plaintiﬀs demonstrate that they can use a common method or formula to calculate class damages

 2   on an aggregate basis. See Lidoderm, 2017 U.S. Dist. LEXIS 24097, at *76 (approving use of aggregate

 3   damages) (citing Meijer, Inc. v. Abbott Labs, 2008 WL 40658399, at *7 (N.D. Cal. Aug. 27, 2008)); see

 4   also In re Nexium, 777 F.3d at 19 (approving aggregate measure of classwide damages); In re Cardizem

 5   CD Antitrust Litig., 200 F.R.D. 297, 324 (E.D. Mich. 2011) (“As observed by a leading commentator

 6   on class actions: ‘aggregate computation of class monetary relief is lawful and proper.’”) (quotation

 7   omitted). Further, the calculation of aggregate damages need not be precise. Comcast Corp. v. Behrend,

 8   569 U.S. 27, 35 (2013) (conﬁrming that damages “[c]alculations need not be exact”); LCDs, 267 F.R.D.

 9   at 600 (“Plaintiﬀs need only demonstrate a proposed method for determining damages that is ‘not so

10   insubstantial as to amount to no method at all.’” (quotation omitted)). It is also well established that any

11   need to perform individual damages calculations will not defeat class certiﬁcation. See Torres, 835 F.3d

12   at 1136 (“�e presence of individualized damages calculations. . . does not defeat predominance.”).

13          As detailed in Section II.F above, Plaintiﬀs have not only proposed a common methodology for

14   calculating the aggregate class damages, Drs. Singer and Zimbalist calculated those damages using

15   standard econometric methods. Dr. Singer’s sophisticated regression analysis found

16                                                                               SR1 ¶¶ 180-87 & Tables 4-6;

17   SR2 ¶¶ 3, 36, 40, 68, 73-74.

18

19

20                                                               . SR1 ¶¶ 250-51 & Table 11; SR2 ¶¶ 172-74.

21   Drs. Singer and Zimbalist also used the standard yardstick approach to damages—including

22   comparisons of the Wage Share of UFC Fighters to the Wage Shares of other MMA Promoters and

23   those in other major sports.

24                                      ZR1 ¶¶ 123-126 & Tables 4-6; ZR2 at VI; SR1 247-48 & Table 9;

25   SR2 ¶¶ 171, 176-82.

26                                                    . SR1 ¶¶ 253-56 & Table 12; SR2 ¶¶ 183-86.

27          D.      Zuﬀa’s Main Criticism of Plaintiﬀs’ Analyses Is Wrong
28          Zuﬀa’s main criticism of Plaintiﬀs’ economic experts’ analyses of impact and damages is that

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 1   they use an allegedly inappropriate measure—Wage Share—in assessing the eﬀects of Zuﬀa’s

 2   anticompetitive Scheme. Wage Share measures compensation as a percentage of a ﬁrm’s revenues—or

 3   in this case a portion of those revenues, a percentage of Event Revenues. 64 Dr. Singer measures Wage
 4   Share by calculating the percentage of Zuﬀa’s revenues from live MMA events that Fighters received

 5   as compensation. CD, Ex. 5 (MR1) ¶ 2; SR2 ¶¶ 36-38, 40, 68, 72-74.

 6

 7

 8                SR1 ¶¶ 180-87 & Tables 4-6; SR2 ¶¶ 36, 40, 68, 73-76; MR1 ¶ 2. Similarly, Dr. Zimbalist

 9   uses Wage Share to compare the compensation Zuﬀa pays its ﬁghters to the compensation professional

10   athletes receive in sports with more competitive labor markets. ZR1 ¶¶ 104-26; MR1 ¶ 2.

11           Zuﬀa’s attack on use of Wage Share fails. 65 Both sides’ economic experts agree that in a
12   competitive labor market, workers would receive what economists call their “marginal revenue product

13   of labor” (“MRP”). MRP is the monetary value that their eﬀorts generate for their ﬁrms, holding all

14   other inputs constant. MR1 ¶11 (discussing consensus of experts in this case). �e value that Fighters

15   provide to Zuﬀa—and other MMA promoters—is at minimum their ability to generate revenue by

16   competing in MMA Events. MR1 ¶ 26; SR2 ¶¶ 108-09, 112-13, 120; ZR2 ¶¶ 28, 30, 35, 46. �e more

17   fans are willing to pay to watch a Fighter, the more Zuﬀa would have to pay the Fighter in a

18   competitive market. MR1 ¶¶ 24-27; SR2 ¶¶ 108, 112-13, 120; ZR2 ¶¶ 28, 30, 35, 46. �e Fighters are

19   what drives fans to pay to watch events. MR1 ¶ 24; SR2 ¶¶ 108-09, 112-13, 120; ZR2 ¶¶ 28, 30, 35, 46;

20   see also ZR2 ¶ 57 (“the athlete essentially is the product” (emphasis original)).

21           In this way, MMA Fighters—and professional athletes generally—are unusual. For many

22   workers, the connection between their productivity and ﬁrm revenues is attenuated. MR1 ¶¶ 23-24;

23

24
     64
        See MR1 ¶¶ 2-3; SR2 ¶¶ 3, 5, 72; ZR2 ¶ 36.
25   65
        �e issue supports class certiﬁcation even if Zuﬀa turns out ultimately to be right about Wage Share.
     If Plaintiﬀs are correct, then use of Wage Share is appropriate for all Class members. If, on the other
26
     hand, Zuﬀa is correct, then Plaintiﬀs’ showing fails for all Class members. As Dr. Oyer (Zuﬀa’s
27   primary expert on this issue) made clear, his position is that it is never appropriate to use Wage Share,
     not that it can be used for some Class members. See CD, Ex. 22 (Oyer Dep.) at 88:13–19. In other
28   words, the claims of the Class members rise and fall together; that common issue supports certiﬁcation.
     See Amgen, 568 U.S. at 467–68, 481 (issues are common if claims of class rise or fall together).
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 1   SR2 ¶¶ 8, 92-95; ZR2 ¶ 30. But that’s not true for professional athletes. So the correct way to measure

 2   how much Zuﬀa would pay its Fighters in a competitive market is in proportion to its Event Revenues:

 3   the more revenues Events generate, the more compensation the Fighters in those Events would receive.

 4                                                                                                  . SR2 ¶

 5   108, n.406 (citing Zuﬀa documents). So did Zuﬀa’s own economists when evaluating compensation to

 6   MMA ﬁghters and other professional athletes outside of this litigation. See SR2 ¶ 90 & n.321 (noting

 7   Dr. Topel himself used Wage Share to analyze compensation in the NFL). And so does the economics

 8   literature when assessing professional athlete compensation and determining the monopsony power of

 9   professional sports leagues, 66 or when assessing the impact of concentration on worker compensation
10   generally. 67
11           In contrast, using wage levels—as Zuﬀa’s economists claim is necessary—is inappropriate here.

12   It ignores increasing Fighter productivity and masks the anticompetitive eﬀects of Zuﬀa’s Scheme. As

13   Zuﬀa’s Event Revenues increased over time, even though Zuﬀa paid its Fighters more, it paid them an

14   increasingly smaller percentage of the Event Revenues that Fighters generated and, thus, a smaller

15   percentage of their MRP.

16

17                                                                           . SR2 ¶¶ 38-40, 94, 108-09;

18   MR1 ¶ 21. Indeed, Zuﬀa’s own economist, Dr. Topel, admitted using wage levels by themselves—

19   unlike Wage Share—does not allow an assessment of whether Zuﬀa increasingly exercised monopsony

20   power over time, the crucial issue in this case. SR2 ¶ 39, n.126 (discussing Topel’s admission).

21           �e weaknesses in Zuﬀa’s position are further reﬂected in the testimony of another of its

22   economists, Dr. Oyer. He admits that in a competitive labor market, workers would be paid an amount

23   equivalent to their MRP. 68 He also admits that some workers—like commission salespeople—generate
24   a percentage of incremental ﬁrm revenues. See CD, Ex. 12 (Oyer Rpt.) ¶ 16. But his position in this

25
     66
        See SR2 at ¶¶ 6, 92-100 (discussing multiple published studies evaluating precisely the question at
26
     issue here—the eﬀect of exercise of monopsony power on athlete compensation—using Wage Share);
27   see also ZR2 ¶¶ 45-46 (discussing sports literature), ¶ 49 (discussing league practice).
     67
        SR2 ¶¶ 103-07; ZR2 ¶ 47.
28   68
        CD, Ex. 12 (Oyer Rpt.) ¶¶ 15-18; CD, Ex. 22 (Oyer Dep.) at 19:19-23.

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 1   case is eﬀectively that analysis of compensation “just is not done” with Wage Share. Yet when

 2   confronted with publication after publication assessing compensation to athletes in terms of Wage

 3   Share, Dr. Oyer admitted that he had never read them, that he had failed to address them in his report,

 4   that the publications did in fact use Wage Share, not wage levels, 69 and that he knew of no publication
 5   rejecting the use of Wage Share. 70
 6           Central to Dr. Oyer’s opinion is his reliance on a book on monopsony power in labor markets

 7   by Prof. Alan Manning. See CD, Ex. 12 (Oyer Rpt.) ¶¶ 22-26. Dr. Oyer described Prof. Manning as “a

 8   recognized expert and leader . . . in analysis of monopsony in labor markets” and as “particularly

 9   authoritative.” 71 Plaintiﬀs were able to obtain a rebuttal expert report from Prof. Manning. He explains
10   that use of Wage Share can be appropriate for labor economists and that use of Wage Share is

11   appropriate in this case. MR1 ¶¶ 5-31. Use of Wage Share is correct, according to Prof. Manning,

12   when “(1) the goal is to compare compensation to marginal revenue product; (2) suﬃcient ﬁrm-level

13   information is available to compute wage share; and (3) it is possible to obtain a reasonable estimate of

14   the part of a ﬁrm’s revenue that can be ascribed to the activities of a particular worker or group of

15   workers.” MR1 ¶ 6. As Prof. Manning explains, these criteria are met here: the goal here is to compare

16   compensation to the MRP of Fighters, suﬃcient information is available about MMA Event Revenues

17   to calculate Wage Share, and the contributions of Fighters are proportional to Event Revenues. MR1 ¶¶

18   24-31; see also SR2 ¶¶ 89-90, 92-102, 111-13, 120. For these and other reasons, he concludes that use

19   of Wage Share is appropriate in this litigation. MR1 ¶ 31.

20   VII.    A CLASS ACTION IS SUPERIOR TO INDIVIDUAL ACTIONS
21           Class treatment is superior to many hundreds of individual claims in an antitrust case where

22   common issues predominate. LCDs, 267 F.R.D. at 314 (“if common questions are found to predominate

23   in an antitrust action . . . courts generally have ruled that the superiority prerequisite of Rule 23(b)(3) is

24   satisﬁed”) (quotation omitted). Class members’ individual damages, even after mandatory trebling, are

25   insuﬃciently large to warrant individual litigation. Id. at 314–315; see also Wolin, 617 F.3d at 1175-76.

26
     69
27      See CD, Ex. 22 (Oyer Dep.) at 102:22-119:4.
     70
        See id. at 123:7-124:9.
28   71
        Id. at 122:17-21 (admitting that “Alan Manning is a recognized expert and leader in the thinking of
     monopsony—analysis of monopsony in labor markets”); id. at 123:4-6 (same).
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 1   Class treatment will also be more manageable and eﬃcient than hundreds of individual actions

 2   litigating the same issues with the same proof. See, e.g., In re Ethylene Propylene Diene Monomer

 3   (EPDM) Antitrust Litig., 256 F.R.D. 82, 104 (D. Conn. 2009); Greene, 2017 WL 4158605, at *6

 4   (“Because the Court ﬁnds it would be more eﬃcient and consistent to pool these claims together, the

 5   superiority requirement has been satisﬁed.”). Either Zuﬀa engaged in the Scheme or it did not; either

 6   the Scheme was anticompetitive or it was not; either it artiﬁcially deﬂated wages or it did not. Any trial

 7   here will focus on the same questions and the same evidence, whether it involves a single ﬁghter or the

 8   Classes as a whole. Moreover, if individual Class members cannot aﬀord to bring claims on their own,

 9   that weighs in favor of certifying a class, not against it. Briseno v. ConAgra Foods, Inc., 844 F.3d 1121,

10   1128 (9th Cir. 2017) (citing Mullins v. Direct Digital, LLC, 795 F.3d 654, 663–64 (7th Cir. 2015));

11   LCDs, 267 F.R.D. at 608; Sobel, 291 F.R.D. at 544 (quoting Wolin, 617 F.3d at 1176 (“[A] class action

12   is particularly appropriate where, as here, the alternative involves class members ﬁling hundreds of

13   individual lawsuits that could involve duplicating discovery and costs that exceed the extent of the

14   proposed class members’ individual injuries.’”)). �is case will proceed best on a class basis.

15               THE COURT SHOULD APPOINT CO-LEAD CLASS AND LIAISON COUNSEL
16          In addition to moving for class certiﬁcation, Plaintiﬀs ask the Court to remove the term

17   “Interim” for Plaintiﬀs’ Interim Co-Lead Class Counsel and Interim Liaison Counsel. Under Fed. R.

18   Civ. P. 23(g), if the Court grants class certiﬁcation, it should appoint class counsel who will “fairly and

19   adequately” represent the Classes. See also Harris v. United States Physical Therapy, Inc., 2012 U.S.

20   Dist. LEXIS 184846, at *32 (D. Nev. Dec. 26, 2012) (counsel should be “qualiﬁed and competent” to

21   represent the class). Plaintiﬀs have retained highly skilled counsel with extensive experience in

22   prosecuting antitrust class actions. Interim Court-appointed Co-Lead Counsel and Liaison Counsel

23   have vigorously pursued the interests of the proposed Classes and will continue to do so. See CD ¶¶ 3-8

24   (describing the work Interim Class Counsel have undertaken to date). As a result, appointment of Co-

25   Lead and Liaison Counsel is appropriate under Rule 23(g).

26               CONCLUSION
27          For the foregoing reasons, Plaintiﬀs respectfully submit that the Court should certify the Bout

28   and Identity Classes and appoint Co-Lead Class Counsel and Liaison Counsel.

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 1   Dated: February 16, 2018                  Respectfully Submitted,

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 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on this 16th day of February, 2018 a true and correct copy of
     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION and supporting papers was served via
 3   email on all parties or persons requiring notice.
 4
                                                            /s/ Eric L. Cramer
 5
                                                            Eric L. Cramer
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